STATE OF NORTH CAROLINA, District of Fayetteville.
SUPERIOR COURT OF LAW, April Term, 1801.
The jurors for the State, upon their oaths, present, that James Carter, late of the county of Robeson, within the district aforesaid, laborer, not having the fear of God before his eyes, but being moved and seduced by *Page 338 
the instigation of the devil, on the twenty-second day of November, in the year of our Lord one thousand eight hundred, and in the XXVth year of the independence of the State, with force and arms, in the county aforesaid, in and upon one William Loaper, in the peace of God and the State, then and there being, feloniously, willfully, and with malice aforethought, did make an assault; and that he, the said James Carter, with a certain knife of the value of six-pence, which he, the said James Carter, in his right hand then and there held, the said William Loaper, in and upon the left breast of him, the said William Loaper, then and there feloniously, willfully, and of his malice aforethought, did strike and thrust, thereby giving to the said William Loaper, then and there, with the knife aforesaid, in and upon the aforesaid left brest of him, the said William Loaper, one mortal wound, of the breadth of one inch, and of the depth of four inches, of which said mortal wound the aforesaid William Loaper then and there instantly died; and so the jurors aforesaid, upon their oath aforesaid, do say that the said James Carter, the said William Loaper, in manner and form aforesaid, feloniously, (407) willfully, and of his malice aforethought, did kill and murder, against the peace and dignity of the State.
EDWARD JONES, Sol. General.
Plea not guilty. The jury sworn to try the issue of traverse, found the prisoner guilty of the felony and murder in manner and form as charged in the bill of indictment. And the counsel for the prisoner moved an arrest of judgment, for the following reasons:
1. Because, in the caption of the indictment, the term of the Court is not sufficiently expressed, the year being written in numerical figures.
2. Because the place of the wound in that part of the indictment which charges with giving a mortal wound, and which states the length and breadth of the wound, is not sufficiently, or at all set forth. WILLIAM DUFFY.
I am of opinion that the judgment should be arrested for the second reason, not withstanding the meaning of the word "brest" is unequivocally explained by the antecedent words, where the wound is charged to be given under the left breast, and the mortal wound is charged to be given on "aforesaid left brest"; yet I consider myself bound by all the authorities which require the greatest strictness and accuracy in all capital proceedings, and which do not appear in any instance to have been dispensed with, though in some cases carried to a degree of critical exactness, not easily to be reconciled to good sense or sound understanding; and though this case may by some be considered of that *Page 339 
description, yet I am not disposed to give a judgment which might appear in any respect to run counter to the opinion of the most learned and respectable Judges, who have written or decided in like cases.